 Fill in this information to identify your case:

 Debtor 1                   Joel J. Rosen
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Kathleen A. Rosen
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA

 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             420,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              30,232.98

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             450,232.98

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             289,250.82

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             361,589.01


                                                                                                                                     Your total liabilities $               650,839.83


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,888.13

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,626.46

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                                 Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                       Desc
                                                                     Main Document    Page 1 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                          Case number (if known) 2:19-bk-10332-DPC

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       2,083.33


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            29,021.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             29,021.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                         Desc
                                                               Main Document    Page 2 of 48
 Fill in this information to identify your case and this filing:

 Debtor 1                    Joel J. Rosen
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Kathleen A. Rosen
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF ARIZONA

 Case number            2:19-bk-10332-DPC                                                                                                                        Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        4710 E. Sandra Terrace                                                         Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Phoenix                           AZ        85032-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $420,000.00                $420,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Maricopa                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Lien: $192,096
                                                                                Payment: $1,560.26
                                                                                2nd Lien: $89,547.82
                                                                                Payment: $799.36
                                                                                Needs approximately $40,000 for major pool repairs, leaking roof and
                                                                                needs new patio cover (collapsing)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $420,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.



Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy

               Case 2:19-bk-10332-DPC                                      Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                         Desc
                                                                           Main Document    Page 3 of 48
 Debtor 1        Joel J. Rosen
 Debtor 2        Kathleen A. Rosen                                                                                  Case number (if known)       2:19-bk-10332-DPC

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      CRV                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         No lien
                                                                     Check if this is community property                                $5,000.00                  $5,000.00
                                                                     (see instructions)



  3.2    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      CRV                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                  43,120                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Lien: $8,585.15
         Payment: $438.96                                            Check if this is community property                              $11,000.00                 $11,000.00
                                                                     (see instructions)



  3.3    Make:    BMW                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:   R1200CLC Motorcycle                                Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:    2003                                               Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:   49,415                               Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         No lien
                                                                     Check if this is community property                                $2,500.00                  $2,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $18,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods and furnishings                                                                                                 $5,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy

             Case 2:19-bk-10332-DPC                            Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                Desc
                                                               Main Document    Page 4 of 48
 Debtor 1       Joel J. Rosen
 Debtor 2       Kathleen A. Rosen                                                                   Case number (if known)     2:19-bk-10332-DPC

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Household electronics                                                                                        $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Stamp collection, coin collection, Cubs signed bat, assorted
                                    baseball bobbleheads                                                                                           $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Recumbent bike                                                                                                   $50.00


                                    Viola                                                                                                          $500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    2 12 gauge shotguns and 38 Special Smith & Wesson revolver                                                     $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing                                                                                                     $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Engagement and wedding rings                                                                                 $2,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                              Desc
                                                               Main Document    Page 5 of 48
 Debtor 1          Joel J. Rosen
 Debtor 2          Kathleen A. Rosen                                                                                          Case number (if known)   2:19-bk-10332-DPC



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $11,550.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Chase Bank #6059                                                        $18.44



                                              17.2.       Checking                                Chase Bank #8293                                                        $61.38



                                              17.3.       Brokerage                               E-trade.com #9282                                                       $26.92



                                              17.4.       Checking                                BBVA Compass Bank #9542                                                 $43.16



                                              17.5.       Checking                                BBVA Compass Bank #8875                                                 $33.08


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  Continence Center of America, Inc. - debts are
                                                  greater than the value of its assets; success
                                                  depends on the Debtors' participation                                             100          %                          $0.00


                                                  Advan Medical Products, Inc. - no longer
                                                  operating; debts are greater than the value of its
                                                  assets                                                                            100          %                          $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                   Desc
                                                                               Main Document    Page 6 of 48
 Debtor 1         Joel J. Rosen
 Debtor 2         Kathleen A. Rosen                                                                           Case number (if known)      2:19-bk-10332-DPC

        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
Official Form 106A/B                                            Schedule A/B: Property                                                                         page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                      Desc
                                                               Main Document    Page 7 of 48
 Debtor 1        Joel J. Rosen
 Debtor 2        Kathleen A. Rosen                                                                                               Case number (if known)        2:19-bk-10332-DPC

        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             NY Life term life insurance policy                                       Joel Rosen                                                    $0.00


                                             Allstate term life insurance policy                                      Kathleen Rosen                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $182.98


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                                   Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                     Desc
                                                                     Main Document    Page 8 of 48
 Debtor 1         Joel J. Rosen
 Debtor 2         Kathleen A. Rosen                                                                                                     Case number (if known)   2:19-bk-10332-DPC

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $420,000.00
 56. Part 2: Total vehicles, line 5                                                                           $18,500.00
 57. Part 3: Total personal and household items, line 15                                                      $11,550.00
 58. Part 4: Total financial assets, line 36                                                                     $182.98
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $30,232.98              Copy personal property total           $30,232.98

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $450,232.98




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                                      Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                   Desc
                                                                        Main Document    Page 9 of 48
 Fill in this information to identify your case:

 Debtor 1                Joel J. Rosen
                         First Name                         Middle Name                 Last Name

 Debtor 2                Kathleen A. Rosen
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      4710 E. Sandra Terrace Phoenix, AZ                             $420,000.00                              $150,000.00      Ariz. Rev. Stat. § 33-1101(A)
      85032 Maricopa County
      Lien: $192,096                                                                       100% of fair market value, up to
      Payment: $1,560.26                                                                   any applicable statutory limit
      2nd Lien: $89,547.82
      Payment: $799.36
      Needs approximately $40,000 for
      major pool repairs, leaking roof and
      needs new patio cover (collapsing)
      Line from Schedule A/B: 1.1

      2009 Honda CRV                                                   $5,000.00                                 $5,000.00     Ariz. Rev. Stat. § 33-1125(8)
      No lien
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2015 Honda CRV 43,120 miles                                     $11,000.00                                 $6,000.00     Ariz. Rev. Stat. § 33-1125(8)
      Lien: $8,585.15
      Payment: $438.96                                                                     100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit

      Household goods and furnishings                                  $5,000.00                                 $5,000.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                      Desc
                                                               Main Document    Page 10 of 48
 Debtor 1    Joel J. Rosen
 Debtor 2    Kathleen A. Rosen                                                                           Case number (if known)     2:19-bk-10332-DPC
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Household electronics                                            $1,500.00                                  $1,500.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Recumbent bike                                                       $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1125(7)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Viola                                                               $500.00                                   $500.00        Ariz. Rev. Stat. § 33-1125(2)
     Line from Schedule A/B: 9.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 12 gauge shotguns and 38 Special                                  $500.00                                   $500.00        Ariz. Rev. Stat. § 33-1125(10)
     Smith & Wesson revolver
     Line from Schedule A/B: 10.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing                                                         $1,000.00                                  $1,000.00        Ariz. Rev. Stat. § 33-1125(1)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Engagement and wedding rings                                     $2,500.00                                  $4,000.00        Ariz. Rev. Stat. § 33-1125(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase Bank #8293                                           $61.38                                   $300.00        Ariz. Rev. Stat. § 33-1126(A)(9)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: BBVA Compass Bank                                          $43.16                                   $300.00        Ariz. Rev. Stat. § 33-1126(A)(9)
     #9542
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                         Desc
                                                               Main Document    Page 11 of 48
 Fill in this information to identify your case:

 Debtor 1                   Joel J. Rosen
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Kathleen A. Rosen
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Chase                                    Describe the property that secures the claim:               $191,546.38               $420,000.00                     $0.00
         Creditor's Name                          4710 E. Sandra Terrace Phoenix, AZ
                                                  85032 Maricopa County
                                                  Lien: $192,096
                                                  Payment: $1,560.26
                                                  2nd Lien: $89,547.82
                                                  Payment: $799.36
                                                  Needs approximately $40,000 for
                                                  major pool repairs, leaking roof and
         Mail Code OH4-7399                       needs new patio cover (collapsing)
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 182613                          apply.
         Columbus, OH 43218                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred                                    Last 4 digits of account number        9570




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                             Desc
                                                               Main Document    Page 12 of 48
 Debtor 1 Joel J. Rosen                                                                                       Case number (if known)   2:19-bk-10332-DPC
               First Name                  Middle Name                      Last Name
 Debtor 2 Kathleen A. Rosen
               First Name                  Middle Name                      Last Name


 2.2     Chase                                      Describe the property that secures the claim:                    $89,119.29           $420,000.00             $0.00
         Creditor's Name                            4710 E. Sandra Terrace Phoenix, AZ
                                                    85032 Maricopa County
                                                    Lien: $192,096
                                                    Payment: $1,560.26
                                                    2nd Lien: $89,547.82
                                                    Payment: $799.36
                                                    Needs approximately $40,000 for
                                                    major pool repairs, leaking roof and
         Mail Code OH4-7399                         needs new patio cover (collapsing)
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 182613                            apply.
         Columbus, OH 43218                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred          2/10/2006                   Last 4 digits of account number         0005

 2.3     Honda Financial Services                   Describe the property that secures the claim:                      $8,585.15           $11,000.00             $0.00
         Creditor's Name                            2015 Honda CRV 43,120 miles
                                                    Lien: $8,585.15
                                                    Payment: $438.96
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 168088                            apply.
         Irving, TX 75016-8088                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Vehicle Lien
       community debt

 Date debt was incurred          1/2015                      Last 4 digits of account number         7664


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $289,250.82
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $289,250.82

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                               Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                        Desc
                                                                 Main Document    Page 13 of 48
 Debtor 1 Joel J. Rosen                                                                  Case number (if known)          2:19-bk-10332-DPC
              First Name                Middle Name                  Last Name
 Debtor 2 Kathleen A. Rosen
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.1
        Chase
        Mail Code LA4-6475                                                         Last 4 digits of account number
        700 Kansas Lane
        Monroe, LA 71203

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.1
        Chase
        Mail Code LA4-6911                                                         Last 4 digits of account number
        700 Kansas Lane
        Monroe, LA 71203-4774

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.2
        Chase Bank
        Mail Code LA4-6911                                                         Last 4 digits of account number
        700 Kansas Lane
        Monroe, LA 71203-4774

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.2
        Chase Bank
        Mail Code LA4-6475                                                         Last 4 digits of account number
        700 Kansas Lane
        Monroe, LA 71203




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                 Desc
                                                               Main Document    Page 14 of 48
 Fill in this information to identify your case:

 Debtor 1                   Joel J. Rosen
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Kathleen A. Rosen
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number            2:19-bk-10332-DPC
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Bank of America                                         Last 4 digits of account number         0582                                                        $6,545.10
              Nonpriority Creditor's Name
              P.O. Box 982234                                         When was the debt incurred?
              El Paso, TX 79998-2234
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                          Contingent
                  Debtor 2 only
                                                                          Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   credit line




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              30975                                                Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                       Desc
                                                               Main Document    Page 15 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)         2:19-bk-10332-DPC

 4.2      BMW Financial Credit Card                                  Last 4 digits of account number       4080                                           $10,361.87
          Nonpriority Creditor's Name
          P.O. Box 660545                                            When was the debt incurred?           2001-present
          Dallas, TX 75266-0545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line


 4.3      Chase Bank                                                 Last 4 digits of account number       5277                                             $4,564.72
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           2001-present
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line


 4.4      Chase Bank                                                 Last 4 digits of account number       3836                                           $11,505.26
          Nonpriority Creditor's Name
          P.O. Box 78035                                             When was the debt incurred?           2001-present
          Phoenix, AZ 85062-8035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                          Desc
                                                               Main Document    Page 16 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)         2:19-bk-10332-DPC

 4.5      Chase Bank                                                 Last 4 digits of account number       0011                                          $102,416.76
          Nonpriority Creditor's Name
          P.O. Box 29550                                             When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal liability for business debt owed by
              Yes                                                       Other. Specify   Advan


 4.6      Chase Bank                                                 Last 4 digits of account number       6187                                             $4,594.91
          Nonpriority Creditor's Name
          P.O. Box 15548                                             When was the debt incurred?
          Wilmington, DE 19886-5548
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line


 4.7      Chase Bank                                                 Last 4 digits of account number       2002                                          $100,577.73
          Nonpriority Creditor's Name
          P.O. Box 29550                                             When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal liability for business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                          Desc
                                                               Main Document    Page 17 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)         2:19-bk-10332-DPC

 4.8      Chase Cardmember Services                                  Last 4 digits of account number       4038                                           $23,557.45
          Nonpriority Creditor's Name
          P.O. Box 15548                                             When was the debt incurred?
          Wilmington, DE 19886-5548
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line


 4.9      Citi                                                       Last 4 digits of account number       6741                                           $10,633.31
          Nonpriority Creditor's Name
          P.O. Box 6241                                              When was the debt incurred?           1987-present
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line


 4.1
 0        Citi                                                       Last 4 digits of account number       2928                                           $31,356.17
          Nonpriority Creditor's Name
          P.O. Box 6077                                              When was the debt incurred?
          Sioux Falls, SD 57117-6077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                          Desc
                                                               Main Document    Page 18 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)         2:19-bk-10332-DPC

 4.1      HTA-SC Lakeview Medical Arts,
 1        LLC                                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          16435 N. Scottsdale Road, Suite 320                        When was the debt incurred?
          Scottsdale, AZ 85254
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal liability for business
              Yes                                                       Other. Specify   debt


 4.1
 2        Mohela                                                     Last 4 digits of account number       0103                                           $29,021.00
          Nonpriority Creditor's Name
          633 Spirit Drive                                           When was the debt incurred?           8/21/15
          Chesterfield, MO 63005-1243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         student loan

 4.1      Old Navy/ Synchrony Bank
 3        (Bankruptcy)                                               Last 4 digits of account number       8285                                             $2,053.68
          Nonpriority Creditor's Name
          P.O. Box 965060                                            When was the debt incurred?
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                          Desc
                                                               Main Document    Page 19 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)         2:19-bk-10332-DPC

 4.1
 4        Southwest Diagnostic Imaging                               Last 4 digits of account number       2916                                               $431.00
          Nonpriority Creditor's Name
          2323 W. Rose Garden Lane                                   When was the debt incurred?           10/2018
          Phoenix, AZ 85027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.1
 5        Synchrony Bank/JCPenney                                    Last 4 digits of account number       8856                                             $4,829.44
          Nonpriority Creditor's Name
          P.O. Box 965007                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line


 4.1
 6        Target National Bank                                       Last 4 digits of account number       5877                                             $5,698.61
          Nonpriority Creditor's Name
          P.O. Box 660170                                            When was the debt incurred?           2004-present
          Dallas, TX 75266-0170
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                          Desc
                                                               Main Document    Page 20 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)          2:19-bk-10332-DPC

 4.1
 7         US Bank Harley Card                                       Last 4 digits of account number       9620                                                   $13,442.00
           Nonpriority Creditor's Name
           P.O. Box 108                                              When was the debt incurred?
           Saint Louis, MO 63166-0108
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit line

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AllianceOne Receivables                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Management, Inc.                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 4850 Street Road, Suite 300
 Trevose, PA 19053
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America                                               Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15284                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bureau of Medical Economics                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 20247                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85036-0247
                                                               Last 4 digits of account number                  3168

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bureau of Medical Economics                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 326 E. Coronado Rd.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85004-1524
                                                               Last 4 digits of account number                  3168

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Cardmember Service                                      Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15548                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19886-5548
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi                                                          Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6500                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi                                                          Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 6077                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117-6077
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 7 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                  Desc
                                                               Main Document    Page 21 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                              Case number (if known)          2:19-bk-10332-DPC


 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ERC                                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 57610                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32241
                                                               Last 4 digits of account number                    8176

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jeffrey Messing                                               Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Ball Santin & McLeran PLC                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 2999 N. 44th St, Suite 500
 Phoenix, AZ 85018
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Patenaude & Felix, APC                                        Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4545 Murphy Canyon Road, 3rd                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Floor
 San Diego, CA 92123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank                                                Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 965009                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/JCPenney                                       Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 965009                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank                                                       Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 108                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63166-0108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Vital Recovery Services, LLC                                  Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 923748                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Norcross, GA 30010-3748
                                                               Last 4 digits of account number                    3872

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    29,021.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.       $                  332,568.01

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 8 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                                  Desc
                                                               Main Document    Page 22 of 48
 Debtor 1 Joel J. Rosen
 Debtor 2 Kathleen A. Rosen                                                                     Case number (if known)   2:19-bk-10332-DPC

                              here.

                        6j.   Total Nonpriority. Add lines 6f through 6i.                          6j.      $            361,589.01




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 9 of 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                          Desc
                                                               Main Document    Page 23 of 48
 Fill in this information to identify your case:

 Debtor 1                  Joel J. Rosen
                           First Name                         Middle Name              Last Name

 Debtor 2                  Kathleen A. Rosen
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

               Case 2:19-bk-10332-DPC                            Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                  Desc
                                                                 Main Document    Page 24 of 48
 Fill in this information to identify your case:

 Debtor 1                     Joel J. Rosen
                              First Name                          Middle Name          Last Name

 Debtor 2                     Kathleen A. Rosen
 (Spouse if, filing)          First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF ARIZONA

 Case number             2:19-bk-10332-DPC
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Advan Medical Products Inc.                                                              Schedule D, line
                4710 E. Sandra Terrace                                                                   Schedule E/F, line         4.5
                Phoenix, AZ 85032
                                                                                                         Schedule G
                                                                                                       Chase Bank



    3.2         Continence Center of America, Inc.                                                       Schedule D, line
                P.O. Box 54456                                                                           Schedule E/F, line         4.7
                Phoenix, AZ 85078
                                                                                                         Schedule G
                                                                                                       Chase Bank




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                                 Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                           Desc
                                                                     Main Document    Page 25 of 48
              Joel J. Rosen
 Debtor 1 Kathleen A. Rosen                                                              Case number (if known)   2:19-bk-10332-DPC


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:
    3.3      Continence Center of America, Inc.                                                 Schedule D, line
             P.O. Box 54456                                                                     Schedule E/F, line 4.11
             Phoenix, AZ 85078
                                                                                                Schedule G
                                                                                              HTA-SC Lakeview Medical Arts, LLC




Official Form 106H                                                        Schedule H: Your Codebtors                                  Page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                   Desc
                                                               Main Document    Page 26 of 48
Fill in this information to identify your case:

Debtor 1                      Joel J. Rosen

Debtor 2                      Kathleen A. Rosen
(Spouse, if filing)

United States Bankruptcy Court for the:        DISTRICT OF ARIZONA

Case number               2:19-bk-10332-DPC                                                             Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with            Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                              Occupation           Owner/Operator                              Clerical worker
       Include part-time, seasonal, or
       self-employed work.                                         Continence Center of America,
                                              Employer's name      Inc.                                        Continence Center of America, Inc.
       Occupation may include student
       or homemaker, if it applies.           Employer's address
                                                                   P.O. Box 54456                              P.O. Box 54456
                                                                   Phoenix, AZ 85078                           Phoenix, AZ 85078

                                              How long employed there?        21 years                                  21 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         2,300.00        $         1,200.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      2,300.00               $   1,200.00




Official Form 106I                                               Schedule I: Your Income
             Case 2:19-bk-10332-DPC                   Doc 11 Filed  08/25/19 Entered 08/25/19 14:01:37                                    Descpage 1
                                                      Main Document      Page 27 of 48
Debtor 1    Joel J. Rosen
Debtor 2    Kathleen A. Rosen                                                                    Case number (if known)    2:19-bk-10332-DPC


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      2,300.00       $         1,200.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        446.01       $           165.86
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $             0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $             0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $             0.00
     5e.    Insurance                                                                     5e.        $          0.00       $             0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $             0.00
     5g.    Union dues                                                                    5g.        $          0.00       $             0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $             0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            446.01       $           165.86
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,853.99       $        1,034.14
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              1,853.99 + $       1,034.14 = $            2,888.13
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           2,888.13
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                            Schedule I: Your Income
           Case 2:19-bk-10332-DPC                  Doc 11 Filed  08/25/19 Entered 08/25/19 14:01:37                                         Descpage 2
                                                   Main Document      Page 28 of 48
Fill in this information to identify your case:

Debtor 1                 Joel J. Rosen                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                 Kathleen A. Rosen                                                                     A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA                                                        MM / DD / YYYY

Case number           2:19-bk-10332-DPC
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             22                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,560.26

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                            295.55
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            835.65




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case 2:19-bk-10332-DPC                        Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                             Desc
                                                      Main Document    Page 29 of 48
Debtor 1     Joel J. Rosen
Debtor 2     Kathleen A. Rosen                                                                         Case number (if known)      2:19-bk-10332-DPC

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 20.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                  25.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                   0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   90.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                    0.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,626.46
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,626.46
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,888.13
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,626.46

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -738.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Continence Center of America, Inc's HR Department offices in the Debtors' home and pays the
                          utilities and the ownership, maintenence and insurance for the vehicles.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
       Case 2:19-bk-10332-DPC                          Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                               Desc
                                                       Main Document    Page 30 of 48
 Fill in this information to identify your case:

 Debtor 1                    Joel J. Rosen
                             First Name                     Middle Name             Last Name

 Debtor 2                    Kathleen A. Rosen
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number              2:19-bk-10332-DPC
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Joel J. Rosen                                                         X   /s/ Kathleen A. Rosen
              Joel J. Rosen                                                             Kathleen A. Rosen
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       August 25, 2019                                                Date    August 25, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy




              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                 Desc
                                                               Main Document    Page 31 of 48
 Fill in this information to identify your case:

 Debtor 1                  Joel J. Rosen
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Kathleen A. Rosen
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                         $8,300.00           Wages, commissions,                 $5,480.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                        Desc
                                                               Main Document    Page 32 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                           Case number (if known)   2:19-bk-10332-DPC

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income                Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.            (before deductions
                                                                                    exclusions)                                                     and exclusions)

 For last calendar year:                              Wages, commissions,                       $13,800.00            Wages, commissions,                  $11,180.00
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $13,800.00            Wages, commissions,                  $25,120.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income                Gross income
                                                   Describe below.                  each source                    Describe below.                  (before deductions
                                                                                    (before deductions and                                          and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Mohela                                                   last 90 days                    $1,311.92          $29,021.00              Mortgage
       633 Spirit Drive                                                                                                                    Car
       Chesterfield, MO 63005-1243                                                                                                         Credit Card
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                           Desc
                                                               Main Document    Page 33 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                           Case number (if known)    2:19-bk-10332-DPC

       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe
       Chase                                                    last 90 days                    $2,506.95          $89,119.29          Mortgage
       Mail Code OH4-7399                                                                                                              Car
       P.O. Box 182613
                                                                                                                                       Credit Card
       Columbus, OH 43218
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


       Chase Home Mortgage                                      last 90 days                    $4,680.78         $191,546.38          Mortgage
       P.O. Box 24696                                                                                                                  Car
       Columbus, OH 43224-4696
                                                                                                                                       Credit Card
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       JPMorgan Chase Bank, N.A. vs.                            breach of contract          Maricopa County Superior                    Pending
       Advan Medical Products, Inc., Joel                                                   Court                                       On appeal
       Rosen and Kathleen Rosen                                                             201 W. Jefferson Street
                                                                                                                                        Concluded
       CV2019-003468                                                                        Phoenix, AZ 85003


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                       Desc
                                                               Main Document    Page 34 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                           Case number (if known)    2:19-bk-10332-DPC

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Allen Barnes & Jones, PLC                                     Attorney's fee of 3,000 and filing fee of                1/15/19 -                $3,335.00
       1850 N. Central Avenue, Suite 1150                            $335                                                     $2,500
       Phoenix, AZ 85004                                             ($2,500 paid by Debtors' relatives listed                7/24/19 - $835
       hbarnes@allenbarneslaw.com                                    herein; $835 paid by Debtors from sale
       Leslie and David Fastenberg, Debtors'                         of motorcycle and brooch)
       relatives



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                    Desc
                                                               Main Document    Page 35 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                           Case number (if known)    2:19-bk-10332-DPC

       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       CC Advising, Inc.                                             credit counseling                                        6/17/19                       $25.00
       703 Washington Ave, Ste 200
       Bay City, MI 48708
       www.ccadvising.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Southwest Jewelry Buyers                                      Ladies Brooch with Approx                  Received $600                   7/10/19
       14300 N. Northsight Blvd., Suite 127                          4ctw Baguettes H SI and
       Scottsdale, AZ 85260                                          Round Red STone 10.7 DWT
                                                                     18 KYG
       No relationship to Debtors

       David Dryden                                                  1970 Harley Davidson FLH                   Received $5,000                 7/10/19
       7626 Donny Terrace
       Kingsville, MD 21087

       No relationship to Debtor


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                     Desc
                                                               Main Document    Page 36 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                                Case number (if known)   2:19-bk-10332-DPC

       Name of Financial Institution and                        Last 4 digits of              Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                   closed, sold,            before closing or
       Code)                                                                                                               moved, or                         transfer
                                                                                                                           transferred
       ETrade                                                   XXXX-9282                         Checking                 1/31/19                           $469.02
                                                                                                  Savings
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                  have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                          have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                        Desc
                                                               Main Document    Page 37 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                                Case number (if known)   2:19-bk-10332-DPC

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Continence Center of America, Inc.                       continence assistance                                EIN:       XX-XXXXXXX
       13000 N. 103rd Avenue, Suite 73
       Sun City, AZ 85351                                       Charles Hummel                                       From-To    1/2/98-present

       Advan Medical Products Inc.                              retail sales of medical supplies                     EIN:       XX-XXXXXXX
       4710 E. Sandra Terrace
       Phoenix, AZ 85032                                        Charles Hummel                                       From-To    4/27/98-present - not operating

       CTAP - Foundation for                                    non-profit organization                              EIN:       XX-XXXXXXX
       Conservative Treat
       of Adult Pelvic Floor Disorders                          Joel Rosen                                           From-To    12/12/16-present
       1300 N. 103rd Ave., Suite 73
       Sun City, AZ 85351


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                         Desc
                                                               Main Document    Page 38 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                           Case number (if known)   2:19-bk-10332-DPC


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Joel J. Rosen                                                       /s/ Kathleen A. Rosen
 Joel J. Rosen                                                           Kathleen A. Rosen
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     August 25, 2019                                                Date     August 25, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                   Desc
                                                               Main Document    Page 39 of 48
 Fill in this information to identify your case:

 Debtor 1                 Joel J. Rosen
                          First Name                        Middle Name              Last Name

 Debtor 2                 Kathleen A. Rosen
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Chase                                                Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 4710 E. Sandra Terrace                                   Reaffirmation Agreement.
    property       Phoenix, AZ 85032 Maricopa                               Retain the property and [explain]:
    securing debt: County
                   Lien: $192,096
                   Payment: $1,560.26
                   2nd Lien: $89,547.82
                   Payment: $799.36
                   Needs approximately $40,000
                   for major pool repairs, leaking
                   roof and needs new patio cover                          Retain collateral and continue to make
                   (collapsing)                                           regular payments.



    Creditor's         Chase                                                Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       4710 E. Sandra Terrace                             Reaffirmation Agreement.
                         Phoenix, AZ 85032 Maricopa
                         County
                         Lien: $192,096

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy




              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                    Desc
                                                               Main Document    Page 40 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                      Case number (if known)    2:19-bk-10332-DPC

    property            Payment: $1,560.26                                  Retain the property and [explain]:
    securing debt:      2nd Lien: $89,547.82
                        Payment: $799.36
                        Needs approximately $40,000
                        for major pool repairs, leaking
                        roof and needs new patio cover                    Retain collateral and continue to make
                        (collapsing)                                     regular payments.



    Creditor's     Honda Financial Services                                 Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 2015 Honda CRV 43,120 miles                              Reaffirmation Agreement.
    property       Lien: $8,585.15                                          Retain the property and [explain]:
    securing debt: Payment: $438.96

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy




           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                 Desc
                                                               Main Document    Page 41 of 48
 Debtor 1      Joel J. Rosen
 Debtor 2      Kathleen A. Rosen                                                                     Case number (if known)   2:19-bk-10332-DPC




 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Joel J. Rosen                                                            X /s/ Kathleen A. Rosen
       Joel J. Rosen                                                                   Kathleen A. Rosen
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        August 25, 2019                                                  Date    August 25, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                 page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy




           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                             Desc
                                                               Main Document    Page 42 of 48
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Joel J. Rosen
 Debtor 2              Kathleen A. Rosen                                                                   1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Arizona
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           2:19-bk-10332-DPC
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                         1,383.33        $           700.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                         -$   0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                      0.00      $              0.00
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                         -$   0.00
        Net monthly income from rental or other real property             $    0.00 Copy here -> $                      0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

              Case 2:19-bk-10332-DPC                           Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                          Desc
                                                               Main Document    Page 43 of 48
 Debtor 1     Joel J. Rosen
 Debtor 2     Kathleen A. Rosen                                                                           Case number (if known)   2:19-bk-10332-DPC


                                                                                                      Column A                     Column B
                                                                                                      Debtor 1                     Debtor 2 or
                                                                                                                                   non-filing spouse
  8. Unemployment compensation                                                                        $                  0.00      $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                          $                  0.00      $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                        $                  0.00      $           0.00
                                                                                                      $                  0.00      $           0.00
                  Total amounts from separate pages, if any.                                     +    $                  0.00      $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       1,383.33          +   $       700.00      =   $      2,083.33

                                                                                                                                                   Total current monthly
                                                                                                                                                   income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>            $          2,083.33

              Multiply by 12 (the number of months in a year)                                                                                          x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $          24,999.96

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  AZ

       Fill in the number of people in your household.                        3
       Fill in the median family income for your state and size of household.                                                            13.   $         70,976.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Joel J. Rosen                                                      X /s/ Kathleen A. Rosen
                Joel J. Rosen                                                              Kathleen A. Rosen
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date August 25, 2019                                                       Date August 25, 2019
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                      page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                                           Desc
                                                               Main Document    Page 44 of 48
 Debtor 1    Joel J. Rosen
 Debtor 2    Kathleen A. Rosen                                                                    Case number (if known)   2:19-bk-10332-DPC


                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 02/01/2019 to 07/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: CCA
Income by Month:
 6 Months Ago:                                    02/2019                     $0.00
 5 Months Ago:                                    03/2019                 $2,300.00
 4 Months Ago:                                    04/2019                     $0.00
 3 Months Ago:                                    05/2019                 $2,000.00
 2 Months Ago:                                    06/2019                 $2,000.00
 Last Month:                                      07/2019                 $2,000.00
                                 Average per month:                       $1,383.33




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                            Desc
                                                               Main Document    Page 45 of 48
 Debtor 1    Joel J. Rosen
 Debtor 2    Kathleen A. Rosen                                                                    Case number (if known)   2:19-bk-10332-DPC

                                           Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 02/01/2019 to 07/31/2019.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: CCA
Income by Month:
 6 Months Ago:                                    02/2019                     $0.00
 5 Months Ago:                                    03/2019                     $0.00
 4 Months Ago:                                    04/2019                 $1,200.00
 3 Months Ago:                                    05/2019                 $1,200.00
 2 Months Ago:                                    06/2019                 $1,800.00
 Last Month:                                      07/2019                     $0.00
                                 Average per month:                         $700.00




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                            Desc
                                                               Main Document    Page 46 of 48
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                            District of Arizona
             Joel J. Rosen
 In re       Kathleen A. Rosen                                                                                  Case No.    2:19-bk-10332-DPC
                                                                                     Debtor(s)                  Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                3,000.00
             Prior to the filing of this statement I have received                                          $                3,000.00
             Balance Due                                                                                    $                     0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Leslie and David Fastenberg, Debtors' relatives, paid $2,500 of the fee and the
                                                                     Debtors paid $500 of the fee.

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               adversary proceedings or contested matters.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 25, 2019                                                                /s/ Hilary L. Barnes
     Date                                                                           Hilary L. Barnes 19669
                                                                                    Signature of Attorney
                                                                                    Allen Barnes & Jones, PLC
                                                                                    1850 N. Central Avenue, Suite 1150
                                                                                    Phoenix, AZ 85004
                                                                                    602-256-6000 Fax: 602-252-4712
                                                                                    hbarnes@allenbarneslaw.com
                                                                                    Name of law firm




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

            Case 2:19-bk-10332-DPC                             Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                             Desc
                                                               Main Document    Page 47 of 48
                                                               United States Bankruptcy Court
                                                                       District of Arizona
            Joel J. Rosen
 In re      Kathleen A. Rosen                                                                             Case No.   2:19-bk-10332-DPC
                                                                                Debtor(s)                 Chapter    7

                                                                                                        Check if this is an
                                                                                                     Amended/Supplemental Mailing List
                                                                                                     (Include only newly added or
                                                                                                     changed creditors.)


                                                           MAILING LIST DECLARATION


            We, Joel J. Rosen and Kathleen A. Rosen , do hereby certify, under penalty of perjury, that the Master Mailing List,

consisting of 5           page(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date: August 25, 2019                                               /s/ Joel J. Rosen
                                                                     Joel J. Rosen
                                                                     Signature of Debtor

 Date: August 25, 2019                                               /s/ Kathleen A. Rosen
                                                                     Kathleen A. Rosen
                                                                     Signature of Debtor

 Date: August 25, 2019                                               /s/ Hilary L. Barnes
                                                                     Signature of Attorney
                                                                     Hilary L. Barnes 19669
                                                                     Allen Barnes & Jones, PLC
                                                                     1850 N. Central Avenue, Suite 1150
                                                                     Phoenix, AZ 85004
                                                                     602-256-6000 Fax: 602-252-4712




MML_Requirements_8-2018                                                                                                                  MML-3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy




           Case 2:19-bk-10332-DPC                              Doc 11 Filed 08/25/19 Entered 08/25/19 14:01:37                  Desc
                                                               Main Document    Page 48 of 48
